            Case 20-16721-SLM                          Doc 2         Filed 05/21/20 Entered 05/21/20 12:49:26              Desc Main
                                                                     Document      Page 1 of 2

                                                               United States Bankruptcy Court
                                                                        District of New Jersey
 In re      GMS Diner Corp. d/b/a Six Brothers Diner                                                       Case No.
                                                                                 Debtor(s)                 Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
       I, George Stylianou, declare under penalty of perjury that I am the President of GMS Diner Corp. d/b/a Six
Brothers Diner,and that the following is a true and correct copy of the resolutions adopted by the Board of
Directors of said corporation at a special meeting duly called and held on the 20th day of May, 2020.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that George Stylianou, President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 (Subchapter V) voluntary
bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that George Stylianou, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that George Stylianou, President of this Corporation is authorized and directed to
employ David H. Stein, Esq., attorney and the law firm of Wilentz, Goldman & Spitzer, P.A. to represent the
corporation in such bankruptcy case."

 Date May 20, 2020                                                             Signed /s/ George Stylianou
                                                                                        George Stylianou




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            Case 20-16721-SLM                          Doc 2           Filed 05/21/20 Entered 05/21/20 12:49:26   Desc Main
                                                                       Document      Page 2 of 2

                                                                     Resolution of Board of Directors
                                                                                    of
                                                              GMS Diner Corp. d/b/a Six Brothers Diner




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

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to execute and deliver all documents necessary to perfect the filing of a chapter 11 (Subchapter V) voluntary
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       Be It Further Resolved, that George Stylianou, President of this Corporation is authorized and directed to
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 Date May 20, 2020                                                               Signed    /s/ George Stylianou
                                                                                           George Stylianou


 Date                                                                            Signed




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